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                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE
 __________________________________________
 M.L.D., a minor, by and through
 Wayne Doane, Esq.
 as Guardian ad Litem for M.L.D.,
 and Maine Department of Health
 and Human Services, as legal guardian,
 through its Office of Child and Family Services,
 Todd A. Landry, Director,                            Civil No. 2:21-cv-00046-LEW

 Plaintiff/Counterclaim Defendant,

 v.

 Regional School Unit No. 73,

 Defendant/Counterclaim Plaintiff.

 __________________________________________


                            JOINT STIPULATION OF DISMISSAL


        Plaintiff/Counterclaim Defendant M.L.D. and Defendant/Counterclaim Plaintiff RSU 73

 file this joint stipulation of dismissal pursuant to F.R.C.P. Rule 41(a)(1)(A)(ii). The Parties

 participated in a judicial settlement conference and reached an agreement to resolve this matter

 in its entirety. The Parties have finalized that agreement and now jointly stipulate to the

 dismissal of this matter, with prejudice and without costs.




 Dated: March 16, 2023                                 /s/ Atlee M. Reilly
                                                       Atlee M. Reilly, Maine Bar #5159
                                                       areilly@drme.org
                                                       Benjamin Y. Jones, Maine Bar #5240
                                                       bjones@drme.org
                                                       Attorneys for Plaintiff/Counterclaim
                                                       Defendant



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                                           DISABILITY RIGHTS MAINE
                                           160 Capitol Street, Suite 4
                                           Augusta, ME 04330
                                           207.626.2774
                                           207.621.1419 (fax)

 Dated: March 16, 2023                     _/s/ Eric R. Herlan, Esq.____
                                           Eric R. Herlan
                                           erherlan@dwmlaw.com
                                           Attorney for Defendant/Counterclaim
                                           Plaintiff

                                           DRUMMOND WOODSUM
                                           84 Marginal Way, Suite 600
                                           Portland, ME 04101-2480
                                           Tel. (207) 772-1941




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                                  CERTIFICATE OF SERVICE


 I hereby certify that on March 16, 2023, I electronically filed the within Joint Stipulation of

 Dismissal with the Clerk of the Court of the United States District Court, District of Maine using

 the CM/ECF system, which will send notification to all involved parties in the case.


 Dated: March 16, 2023
                                                       /s/ Benjamin Y. Jones
                                                       Benjamin Y. Jones, Maine Bar #5240
                                                       bjones@drme.org
                                                       DISABILITY RIGHTS MAINE
                                                       160 Capitol Street, Suite 4
                                                       Augusta, ME 04330
                                                       207.626.2774 ext. 220
                                                       207.621.1419 (fax)




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